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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

 JOY BANNER                                                      CIVIL ACTION
 VERSUS                                                          NO:     23-7296
 MICHAEL WRIGHT, ET AL                                           SECTION: “G” (4)

                            SETTLEMENT CONFERENCE ORDER

       This case has been scheduled for a Settlement Conference. All lead counsel are ORDERED

TO APPEAR on DECEMBER 20, 2024, at 10:00 AM before the undersigned Magistrate Judge,

United States Courthouse, Hale Boggs Federal Building, 500 Poydras Street, Room B-437, New

Orleans, Louisiana.

       Each party shall email, in confidence, a concise position letter or memorandum outlining the

settlement position of the party, including the case number, case name, and be no longer than

three pages double spaced of the evidence the party expects to produce at trial no later than two (2)

days before the conference. Email letter to: efile-roby@laed.uscourts.gov.

The subject line should read: “23-7296G-12/20/24 “(Plaintiff’s or Defendant’s) Paper”.
       It is the duty of the parties to notify the undersigned if this case is continued, settled, or

otherwise disposed of prior to the date of the scheduled settlement conference, so that the matter may

be removed from the Court's docket.

       Settlement Conferences are often unproductive, unless all counsel have authority to settle or

access to someone with authority to settle during the conference. Before arriving at the Settlement

Conference the parties are to negotiate and make a good faith effort to settle the case without the

involvement of the court. Specific proposals and counter proposals shall be made. Although

optional during the initial conference, participation of parties in addition to counsel would likely
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increase the efficiency and effectiveness of the Settlement Conference. Therefore, counsel are

encouraged to bring their clients to participate in the conference.



                        New Orleans, Louisiana, this 18th day of November 2024




                                            ______________________________________________
                                                       KAREN WELLS ROBY
                                               UNITED STATES MAGISTRATE JUDGE
